  Case: 1:17-md-02804-DAP Doc #: 5100 Filed: 07/06/23 1 of 2. PageID #: 615954




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All Cases
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       7KLV&RXUWHDUOLHUHQWHUHGDQOngoing Common Benefit OrderLPSRVLQJ³DQ0'/&RPPRQ

%HQHILWDVVHVVPHQWRIRIJURVVUHFRYHULHVIURPDQ\2SLRLG&DVHWKDW  LVQRWEURXJKWE\D

6WDWH$WWRUQH\*HQHUDODQG  LVQRWRWKHUZLVHLQFOXGHGLQDJOREDOVHWWOHPHQWWKDWKDVLWVRZQ

QHJRWLDWHG0'/&RXUWDSSURYHG&RPPRQ%HQHILWIHHDQGFRVWVWUXFWXUHV´'RFNHWQRDW

FODULILHGE\GRFNHWQR 7KHOngoing Common Benefit OrderIXUWKHUGLUHFWHGDVIROORZV

              7RHQVXUHFROOHFWLRQRIWKLV&RPPRQ%HQHILW$VVHVVPHQWHDFK'HIHQGDQW
       QDPHGLQDQ\FDVHSHQGLQJLQ0'/1RLVKHUHE\25'(5('WRKROGEDFNWKH
       FRPPRQEHQHILWSHUFHQWDJHIURPDOODSSOLFDEOHMXGJPHQWVDQGVHWWOHPHQWV
       HQWHUHG DIWHU WKH GDWH RI WKLV 2UGHU DQG WR GHSRVLW VXFK DPRXQWV LQWR WKH &RXUW
       &RPPRQ%HQHILW)XQGEach Defendant shall report all judgments, settlements,
       and payments to Special Master Cohen and Co-Lead Counsel, and verify that the
       holdback is placed into the Court Common Benefit Fund until further Order of
       this Court.

Id. HPSKDVLVDGGHG

       6SHFLDO0DVWHU&RKHQKDVH[SODLQHGWRWKH&RXUWWKDWWRGDWHKHLVDZDUHRIGLIIHUHQW

GHSRVLWVE\'HIHQGDQWVLQWRWKH&RXUW&RPPRQ%HQHILW)XQGSXUVXDQWWRWKHOngoing Common
  Case: 1:17-md-02804-DAP Doc #: 5100 Filed: 07/06/23 2 of 2. PageID #: 615955




Benefit Order)XUWKHU6SHFLDO0DVWHU&RKHQVWDWHVWKHVHWWOLQJ'HIHQGDQWVRPHWLPHVLQIRUPVKLP

RQO\E\HPDLODQGRQO\RIWKHDPRXQWGHSRVLWHG±ZLWKRXWVXSSO\LQJRWKHUSHUWLQHQWLQIRUPDWLRQ

VXFKDVWKHLGHQWLW\RIWKHVHWWOLQJSODLQWLIIRUWKHGHWDLOVRIWKHFDOFXODWLRQ ZKLFKLVQRWDOZD\V

VWUDLJKWIRUZDUG ,WLVXQFOHDUZKDWLQIRUPDWLRQWKHVHWWOLQJ'HIHQGDQWLVSURYLGLQJWR&R/HDG

&RXQVHO

        $FFRUGLQJO\WKH&RXUWQRZ$0(1'6WKHOngoing Common Benefit OrderWRPDNHFOHDU

WKDWWKH³UHSRUW´DVHWWOLQJ'HIHQGDQWPXVWVHQGVKDOO  EHVHQWWRERWK6SHFLDO0DVWHU&RKHQDQG

&R/HDG&RXQVHO  EHLQIRUPDOOHWWHUIRUP ZKLFKPD\EHDWWDFKHGWRDQHPDLO   LGHQWLI\WKH

SODLQWLII V LQFRQQHFWLRQZLWKZKLFKWKHDVVHVVPHQWLVEHLQJVHQW  H[SODLQKRZWKH

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ZDVFDOFXODWHG   VWDWHZKHWKHUWKHUHDUHRWKHUVHWWOHPHQWSD\PHQWVWKDWZLOOEHPDGHRYHUWLPH

DQG  VXSSO\GHWDLOVUHJDUGLQJWKHPHFKDQLVPRIGHSRVLW e.g.,ZLUHWUDQVIHURUFKHFNQXPEHU 

        )LQDOO\ WR HQVXUH DFFXUDWH XQGHUVWDQGLQJ RI SDVW GHSRVLWV WKH &RXUW GLUHFWV DOO VHWWOLQJ

'HIHQGDQWVZKRFRQYH\HGWKHDVVHVVPHQWVDOUHDG\SDLGLQWRWKH&RXUW&RPPRQ%HQHILW)XQGWR

VXEPLWUHSRUWVPHHWLQJWKHVHUHTXLUHPHQWV

                ,7,66225'(5('


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          See, e.g., Ongoing Common Benefit OrderDWQ QRWLQJWKDWLIDVHWWOHPHQWUHVROYHV
FODLPVEURXJKW³E\ERWKWKH6WDWH$WWRUQH\*HQHUDODQGJRYHUQPHQWDOVXEGLYLVLRQVZLWKLQWKDW
6WDWH´WKHDVVHVVPHQWDSSOLHVWRWKH6XEGLYLVLRQV¶SRUWLRQRIWKDWVHWWOHPHQW 

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